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 AO 472 (Rev. I I/16) Order of Detention Pending Trial


                                        UNITED STATES DISTRICT COURT                            5

                                                                      for the
                                                           Central District of California
                                                                                                       NOV !6 ~~
                                                                                               l:tN 1 ~Cj~ZR~T OF CAUr'`z^*:~~I~.
                    United States of America                                                   BY        ~(
                                                                                                          "

                                   ~.                                  '
      ~~`                                                ~             j Case No. ~ , Z

                               Defendant


                                         ORDER OF DETENTION PENDING TRIAL

                                                         Part I -Eligibility for Detention

      Upon the

                  Motion of the Government attorney pursuant to 18 U.S.C. § 3142(fl(1), or
                7
                I Motion ofthe Government or Court's own motion pursuant to 18 U.S.C. § 3142(fl(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings
                                                                                                                     offact
and conclusions of law, as required by 18 U.S.C. § 3142(1), in addition to any other findings made at the hearing.

                             Part II -Findings of Fact and Law as to Presumptions under § 3142(e)

  ~ A. Rebuttable Presumption Arises Under 18 U.S.C.§ 3142(e)(2)(prevr'ous vrolaror): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other
                                                                                                                 person
    and the community because the following conditions have been met:
        d (1)the defendant is charged with one ofthe following crimes described in 18 U.S.C. § 3142(fl(1)
                                                                                                               :
             O(a)a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B)for which a maximum term of imprisonment of 10 years or more is prescribed; or
             ~(b)an offense for which the maximum sentence is life imprisonment or death; or
             ~(c)an offense for which a maximum term of imprisonment of 10 years or more is prescribed in
                                                                                                                  the
               Controlled Substances Act(21 U.S.C. §§ 80l -904), the Controlled Substances Import and Export Act
              (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508); or
             Q(d)any felony if such person has been convicted oftwo or more offenses described in subparagr
                                                                                                                   aphs
              (a)through (c)ofthis paragraph, or two or more State or local offenses that would have been
                                                                                                               offenses
               described in subparagraphs(a)through (c)of this paragraph if a circumstance giving rise to Federal
               jurisdiction had existed, or a combination ofsuch offenses; or
             O(e)any felony that is not otherwise a crime of violence but involves:
              (i) a minor victim;(ii) the possession of a firearm or destructive device (as defined in 18
                                                                                                          U.S.C. § 921);
              (iii) any other dangerous weapon; or(iv) a failure to register under 18 U.S.C. § 2250; and
       ~ (2)the defendant has previously been convicted of a Federal offense that is described in 18
                                                                                                        U.S.C.
          § 31420(1), or of a State or local offense that would have been such an offense if a circumstance
                                                                                                               giving rise
          to Federal jurisdiction had existed; and
        O (3)the offense described in paragraph (2)above for which the defendant has been convicted
                                                                                                         was
          committed while the defendant was on release pending trial for a Federal, State, or local offense;
                                                                                                             and
       ~(4)a period of not more than five years has elapsed since the date of conviction, or
                                                                                               the release of the
          defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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        B. Rebuttable Presumption Arises Under 18 U.S.C.§ 3142(e)(3)(narcor;c
                                                                                   s,firearm, other offenses): There is a
        ~buttable presumption that no condition or combination of conditions will reasonably
                                                                                                assure the appearance ofthe
        defendant as required and the safety of the community because there is probable cause
                                                                                                to believe that the defendant
        committed one or more of the following offenses:
             Q (1)an offense for which a maximum term of imprisonment of l0 years or more is prescri
                                                                                                            bed in the
               Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import
                                                                                                        and Export Act(21
               U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508)
                                                                                                      ;
            O (2)an offense under 1 S U.S.C. §§ 924(c), 956(a), or 2332b;
            17(3)an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term
                                                                                               of imprisonment of 10 years
               or more is prescribed;
            O (4)an offense under Chapter 77 of Title 18, U.S.C.(18 U.S.C. §§ 1581-1
                                                                                        597) for which a maximum term of
               imprisonment of 20 years or more is prescribed; or
            ~(5)an offense involving a minor victim under 18 U.S.C. §§ ]201, 1591,
                                                                                       2241, 2242, 2244(a)(1), 2245,
               2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2),
                                                                                            2252A(a)(3), 2252A(a)(4),
               2260, 2421, 2422, 2423, or 2425.

       C. Conc sions Regarding Applicability of Any Presumption Established Above

                The defendant has not introduced sufficient evidence to rebut the presump
                                                                                          tion above, and detention is
                 dered on that basis. (Parr III need nor be ~omplered.)

                OR

             Q The defendant has presented evidence sufficient to rebut the presump
                                                                                    tion, but after considering the
               presumption and the other factors discussed below, detention is warrant
                                                                                       ed.

                                   Part III -Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3]42(g) and
                                                                        the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial
                                                                       because the Government has proven:
   O By clear and convincing evidence that no condition or combination
                                                                       of conditions of release will reasonably assure
     the safety of any other person and the community.

   O By a preponderance of evidence that no condition or combina
                                                                 tion of conditions of release will reasonably assure
     the defendant's appearance as required.

In addition to any findings made on the record at the hearing, the
                                                                     reasons for detention include the following:

      a Weight of evidence against the defendant is strong
      ~ Subject to lengthy period of incarceration if convicted
      a Prior criminal history
      ~ Participation in criminal activity while on probation, parole, or
                                                                          supervision
      O History of violence or use of weapons
      O History of alcohol or substance abuse
      Q Lack of stable employment
      Q Lack of stable residence
      ~ Lack of financially responsible sureties



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         O Lack of significant community or family ties to this district
         ~ Significant family or other ties outside the United States
         O Lack of legal status in the United States
         ~ Subject to removal or deportation after serving any period of incarceration
         ~ Prior failure to appear in court as ordered
         O Prior attempts)to evade law enforcement
         ~ Use of aliases) or false documents
         ~ Background information unknown or unverified
         ~ Prior violations of probation, parole, or supervised release

 OTHER REASONS OR FURTHER EXPLANATION:




                                                 Part IV -Directions Regarding Detention

The defendant is remanded to the custody ofthe Attorney General or to the Attorney
                                                                                      General's designated representative for
confinement in a corrections facility separate, to the extent practicable,from
                                                                                ersons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reaso able opportun
                                                                                            ity for priv to consultation with
defense counsel. On order of a court of the United States or on request
                                                                               an attorney for the Go     ment, the person in
charge of the corrections facility must deliver the defendant to a United
                                                                             tes Marshal for the pu se of an appearance in
connection with a court proceeding.

Date:           ~,(               ~'~
                                                                              n' d States Magistrate Judge




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